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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3169
                                     )
           v.                        )
                                     )
ANA C. CALIX,                        )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     The oral motion of counsel for the plaintiff to withdraw the
outstanding warrant for the arrest of defendant Ana C. Calix is
granted and the warrant is withdrawn.

     DATED this 18th day of December, 2007.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
